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                                                             October 1, 2021
                                          Summary of Key Terms of and Conditions for
                                       DEBTOR-IN-POSSESSION TERM LOAN FACILITY
    Town & Country Partners LLC
    c/o: Gregory Perkins
    Pinnacle Asset Management, LLC
    estevein@pinnacleassetmgmt.com
    CC:Zach Campbell
    The following summarizes the key terms (the “Term Sheet”) on which certain investment fund(s) for which Legalist DIP
    GP, LLC serves as general partner (the “DIP Lender”) are willing to extend postpetition financing (the “DIP Loans”) to
    Town & Country Partners LLC (the “Debtor”) in connection with its chapter 11 case pending in the United States
    Bankruptcy Court for the Northern District of Illinois (the “Bankruptcy Court”), in an aggregate amount of $8,600,000
    (the “DIP Commitment”).
    Prior to satisfaction of the Conditions Precedent to funding, this Term Sheet shall be confidential, non-binding, for
    discussion purposes only, and not a commitment to lend.

        Overview          The DIP Loans shall be made available to the Debtor in the aggregate amount of the DIP Commitment
                          for the following uses:
                          1.   Fees for Pinnacle Asset Management, LLC and all other estate professionals;
                          2.   Refinance/pay down prepetition lender(s), as applicable;
                          3.   Operating expenses of the Debtor; and
                          4.   Other agreed-on uses.

        Conditions        The DIP Lender will make available DIP Loans in a single draw, provided no event of default shall
        Precedent to      (x) have occurred and be continuing or (y) be reasonably likely to result therefrom, upon (such date,
        DIP Draw          the “Effective Date”):
                          1. The DIP Lender’s completion, to its own satisfaction, of any remaining due diligence;
                          2. The Debtor’s delivery of a fully executed credit agreement in Approved Form;1 and
                          3. The Bankruptcy Court’s entry of a final financing order approving the DIP Loans and otherwise
                             in Approved Form (the “DIP Order”), which remains in full force and effect.
                          The Debtor shall file a motion for expedited approval of the DIP Loans no later than three weeks from
                          the execution of this Term Sheet, or an additional one-time “Reserved Funds Fee” of 1.00% of the
                          DIP Commitment shall be earned.

        Interest;         The outstanding principal amount of the DIP Loans (together with all other due and payable DIP
        Default           Obligations (defined below)) shall accrue paid-in-kind interest from the Effective Date at the U.S.
        Interest;         prime rate (subject to a 4.00% floor) plus 11.75% per year. While an event of default has occurred and
        Undrawn Line      is continuing, such amounts shall accrue an additional 4.75% in interest per year. If the DIP Loans are
        Fee               not borrowed in full in a single draw, any undrawn portion of the DIP Commitment shall accrue an
                          “Undrawn Line Fee” from the Effective Date at 4.75% per year. All such interest and fees shall accrue
                          and be compounded and capitalized monthly and be due and payable in cash upon the Maturity Date.

        Other Costs of    A onetime “Commitment Fee” of 2.75% of the DIP Commitment and “Underwriting Fee” of 1.75%
        Borrowing         of the DIP Commitment shall be fully and irrevocably earned upon the Effective Date. In addition, a
                          “Monitoring Fee” of 1.75% of the DIP Commitment per year shall accrue and be compounded and
                          capitalized monthly. All such fees shall be due and payable in cash upon the Maturity Date.

        Prepayments       The DIP Loans shall be mandatorily repaid from, and within 10 days of the Debtor’s receipt of,
                          proceeds from any sale or other disposition of DIP Collateral; provided that any such disposition shall
                          occur in Approved Form. Any repayment required to be made within 270 days of the Effective Date

    1
          “Approved Form” means in form and substance acceptable to (as evidenced by the prior written consent of) the DIP Lender.
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                           shall be accompanied by a “Makewhole Fee” of 4.75% of the amount required to be repaid. The DIP
                           Loans may be voluntarily repaid prior to the Maturity Date beginning 180 days after the Effective Date;
                           provided that voluntary repayments made within 270 days of the Effective Date shall be subject to a
                           Makewhole Fee.

        Maturity Date      The DIP Loans shall mature, and all unpaid DIP Obligations shall be due and payable, upon the earliest
                           (the “Maturity Date”) of (i) 365 days after the Effective Date, (ii) the Debtor’s exit from bankruptcy,
                           and (iii) acceleration of the DIP Loans following an event of default.

        Superpriority      Subject to a customary carveout for estate professional fees and other administrative expenses, all DIP
        Claims; DIP        Obligations shall constitute DIP Claims,2 payable from the DIP Collateral and all other property of the
        Liens; DIP         Debtor’s estate. The DIP Order shall grant the DIP Lender automatically perfected security interests
        Collateral         (collectively, the “DIP Liens”), senior to all pre- and postpetition liens, on all present or future estate
                           property (collectively, the “DIP Collateral”).

        Break-Up Fee       In the event that, after execution hereof, the transaction described herein should not be timely effected
                           for any reason, the DIP Lender shall immediately (and without any further action or notice) be entitled
                           to a fee of 4.75% of the DIP Commitment (the “Break-Up Fee”).3

        DIP Lender         The Debtor shall pay, no later than the Maturity Date, all reasonable costs and expenses of the DIP
        Expenses;          Lender incurred in connection with the DIP Loans (collectively, the “DIP Lender Expenses”). The
        Other DIP          DIP Lender Expenses, together with all principal of, and interest and fees on, the DIP Loans, together
        Obligations        with any other amount owed by the Debtor in connection therewith shall constitute “DIP Obligations”
                           secured by the DIP Liens.

        Miscellaneous      Customary and as reasonably required by the DIP Lender, including:
        Provisions
                           ●    Debtor’s representations, warranties, and covenants (including budget and reporting);
                           ●    Stay waiver (notwithstanding Bankruptcy Rule 6004);
                           ●    Indemnity of DIP Lender and its affiliates;
                           ●    Section 364(e) “good faith” findings in favor of the DIP Lender;
                           ●    Carveout (2.50% of DIP Loans post-default);
                           ●    Events of default and DIP Lender’s rights and remedies; and
                           ●    Governing Law (Bankruptcy Code / New York State).

                      Note that this Term Sheet relates solely to a proposed debtor-in-possession financing.
           The DIP Lender does not offer exit financing or otherwise extend credit to entities outside chapter 11.




    2
          “DIP Claims” means “superpriority” administrative-expense claims with priority over (i) all other administrative-expense claims,
          expenses, and costs permitted by, described in, or entitled to priority under the Bankruptcy Code and (ii) all other unsecured claims
          against the Debtor.
    3
          The Debtor acknowledges that the Break-Up Fee is intended to be an actual, necessary cost and/or expense of preserving its estate
          and, thus, entitled to priority under Bankruptcy Code section 503(b). The Break-Up Fee, together with all costs of collection, shall
          be due and payable (if applicable) from and after execution of this Term Sheet by the Debtor, irrespective of the occurrence of the
          Effective Date.

                                                                         2
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    This Term Sheet shall expire and be without further effect if not signed by both parties by October 8, 2021.
    Accepted and agreed to, as of the first date written above:

     DEBTOR:                                                          DIP LENDER:
     TOWN & COUNTRY PARTNERS LLC                                      LEGALIST DIP GP, LLC, as General Partner
     By Warburg Equities, LLC, its managing member                    By:
                                                                      Name: Christian G.B. Haigh
     By:
                                                                      Title: Managing Member
     Name: Antonio Barnes
     Title: Manager




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